[Cite as State v. Pryor, 2024-Ohio-3154.]




                       IN THE COURT OF APPEALS OF OHIO
                           THIRD APPELLATE DISTRICT
                                ALLEN COUNTY



STATE OF OHIO,
                                               CASE NO. 1-22-48
       PLAINTIFF-APPELLEE,

       v.

KEYOWN D. PRYOR,                               OPINION

       DEFENDANT-APPELLANT.


STATE OF OHIO,
                                               CASE NO. 1-22-49
       PLAINTIFF-APPELLEE,

       v.

KEYOWN D. PRYOR,                               OPINION

       DEFENDANT-APPELLANT.


STATE OF OHIO,
                                               CASE NO. 1-23-46
       PLAINTIFF-APPELLEE,

       v.

KEYOWN D. PRYOR,                               OPINION

       DEFENDANT-APPELLANT.
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47




STATE OF OHIO,
                                                        CASE NO. 1-23-47
      PLAINTIFF-APPELLEE,

     v.

KEYOWN D. PRYOR,                                        OPINION

      DEFENDANT-APPELLANT.



               Appeals from Allen County Common Pleas Court
               Trial Court Nos. CR 2021 0440 and CR 2022 0009

                              Judgments Affirmed

                       Date of Decision: August 19, 2024



APPEARANCES:

       Brian A. Smith for Appellant

       John R. Willamowski, Jr. for Appellee



MILLER, J.

       {¶1} Defendant-appellant, Keyown D. Pryor (“Pryor”), appeals the August

11, 2022 judgments of the Allen County Court of Common Pleas sentencing him to

prison after being convicted by a jury and the June 13, 2023 judgments denying his

motions for a new trial. For the reasons that follow, we affirm.

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Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


       {¶2} This case arises from two incidents between Pryor and R.H. R.H. is

the natural mother of J.P., Pryor’s son. The first incident, on November 28, 2021,

involved Pryor physically assaulting R.H. as she drove Pryor and J.P. to

McDonald’s. The struggle continued in the McDonald’s parking lot and culminated

in Pryor exiting the vehicle and R.H. driving away. The second incident, on

December 6, 2021, involved another physical altercation as R.H. drove Pryor and

J.P. During the incident, R.H. exited the vehicle and Pryor drove away in R.H.’s

vehicle with J.P. in the back seat. Following the incident, Pryor evaded law

enforcement for several hours before being apprehended in the attic of a nearby

residence.

       {¶3} On January 13, 2022, Pryor was indicted in two separate cases. In

Allen County case number CR 2022 0009, which relates to the November 28, 2021

incident, Pryor was indicted on a single count of domestic violence in violation of

R.C. 2919.25(A), (D)(4), third-degree felony. In Allen County case number CR

2021 0440, which relates to the December 6, 2021 incident, Pryor was indicted on

six counts: Count One of domestic violence in violation of R.C. 2919.25(A), (D)(4),

a third-degree felony; Count Two of kidnapping in violation of R.C. 2905.01(A)(2),

(C)(1), a first-degree felony; Count Three of grand theft of a motor vehicle in

violation of R.C. 2913.02(A)(1), (B)(5), a fourth-degree felony; Count Four of

kidnapping in violation of R.C. 2905.01(A)(2), (C)(1), a first-degree felony; Count

Five of kidnapping in violation of R.C. 2905.01(A)(3), (C)(1), a first-degree felony;

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and Count Six of burglary in violation of R.C. 2911.12(A)(2), (D), a second-degree

felony. On January 20, 2022, Pryor entered written pleas of not guilty to the counts

in the indictments.

       {¶4} A jury trial on the consolidated cases was held on June 21-23, 2022.

At the trial, R.H. testified she was in a “toxic” relationship with Pryor for

approximately four years and that Pryor is the father of her one-year-old son, J.P.

(June 21-23, 2022 Tr. at 135-136, 201, 203-204). R.H. stated that on November 28,

2021, she drove Pryor and J.P. to a McDonald’s restaurant in Shawnee. (Id. at 137-

138, 207-208). However, on the way to the restaurant, Pryor accused R.H. of

“talking to someone” and “got mad.” (Id. at 138). As R.H. continued driving, Pryor

began hitting her “multiple times” in the face as R.H. covered her face with her

hand. (Id. at 139-140, 144-145, 228-230).

       {¶5} When they arrived in the McDonald’s parking lot, R.H. quickly

parked the car, exited the vehicle, and attempted to remove J.P. from his car seat to

take him inside the restaurant. (June 21-23, 2022 Tr. at 140). However, she was

unable to remove the child from the car because Pryor hopped into the driver’s seat

and started driving away. (Id. at 140, 232). According to R.H., this prompted her

to get in front of the car, slam her hands on the hood, and start screaming and

pleading for Pryor to stop the vehicle. (Id. at 140, 231-232). Eventually, Pryor

complied and exited the vehicle. (Id. at 140). R.H. recalled that she and Pryor

continued to yell at each other until a bystander threatened to call the police. (Id. at

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141, 230-231). The security footage from McDonald’s on November 28, 2021 was

played for the jury. (State’s Ex. 1); (June 21-23, 2022 Tr. at 141-145). The video

depiction of the incident generally corroborated R.H.’s testimony. (State’s Ex. 1).

       {¶6} R.H. testified that Pryor left the parking lot and she drove home. (June

21-23, 2022 Tr. at 145, 235-236). She explained that she did not immediately report

the incident to police because she did not want Pryor to be in trouble. (Id. at 145).

However, later that day, her hand “was hurting really bad” as a result of Pryor hitting

it so many times, prompting R.H. to report the incident to the Shawnee Township

Police Department. (Id.). R.H. stated that Pryor inflicted several injuries during the

encounter, including bruising on her hand and a small bruise on her temple. (Id. at

146). Several photographs of the injuries, taken on November 28, 2021, were

published to the jury. (State’s Exs. 2, 3, 4); (June 21-23, 2022 Tr. at 146-150). R.H.

stated that, as a result of the November 28, 2021 incident and other domestic-

violence situations, she entered into a voluntary safety plan with the Allen County

Children’s Services Board that specified that R.H. and J.P. were not to be in contact

with Pryor. (June 21-23, 2022 Tr. at 152-153, 205).

       {¶7} Jeffrey Marchal (“Marchal”) testified that on November 28, 2021 he

heard a “blood curdling scream” coming from the McDonald’s parking lot. (June

21-23, 2022 Tr. at 262-263). Marchal observed a man in the passenger’s seat of a

vehicle punching a woman in the driver’s seat using a closed fist. (Id. at 263-264).

Marchal admitted that, due to his vantage point he did not see the punches “connect”

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but that his observations made it obvious to him that “someone must be getting . . .

beat[en].” (Id. at 264, 267, 269).

       {¶8} Officer Cody Warris (“Officer Warris”), a patrol officer with the

Shawnee Township Police Department, testified that on November 28, 2021, he was

dispatched to McDonald’s at approximately 11:15 a.m. to investigate a domestic

violence dispute. (Id. at 280-282). When Officer Warris arrived on scene, he spoke

to a witness who indicated that the female had driven away but that the male had

entered a Mexican restaurant located near McDonald’s. (Id. at 282-283). Officer

Warris entered the Mexican restaurant and spoke to the man, who he identified as

Pryor. (Id. at 283-284). Pryor denied he was arguing with “his girl” and refers to

the girl in the car as “an old chick I used to mess with.” (State’s Ex. 23). Pryor also

denied he was ever in the car, instead stating that his uncle dropped him off at

McDonald’s and the girl approached him in the parking lot “arguing, screaming,

and yelling.” (State’s Ex. 23). Pryor also claimed nothing “physical” happened

between them. (State’s Ex. 23).

       {¶9} Later that day, Officer Warris met R.H. and photographed her injuries.

(June 21-23, 2022 Tr. at 289-293, 295-298); (State’s Exs. 2, 3, 4). Officer Warris

opined that the injuries that he observed to R.H. indicated to him that “something

physical” had occurred. (June 21-23, 2022 Tr. at 300-301).

       {¶10} Detective Jack Miller (“Det. Miller”), a detective with the Shawnee

Township Police Department, testified that he interviewed Pryor several days after

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the incident. (June 21-23, 2022 Tr. at 304-305). Det. Miller testified that based on

his training and experience, he did not believe Pryor was being entirely truthful

during the interview due to inconsistencies in Pryor’s story. (Id. at 308-309).

       {¶11} Pryor testified in his own defense and stated that on November 28,

2021, he met R.H. and J.P. at church. (Id. at 619-621). After the service, Pryor

agreed to ride with his uncle to meet R.H. and J.P. at McDonald’s for breakfast. (Id.

at 621). However, on the way there, Pryor’s uncle received a work-related call and

so, they met R.H. and J.P. in a nearby parking lot. (Id. at 622-623).

       {¶12} According to Pryor, as soon as he entered R.H.’s car, they began

arguing about Pryor’s ex-girlfriend contacting him. (June 21-23, 2022 Tr. at 622).

Pryor alleges that he upset R.H. by Pryor “defending the other girl,” prompting R.H.

to hit him. (Id. at 622-624). In response, Pryor pushed R.H.’s arm, causing R.H. to

become “irate and [begin] crying and screaming.” (Id. at 622-623). Pryor was

unable to explain how R.H. got the bruise on her cheek, but opined that R.H.

received the bruise on her wrist when he grabbed it. (Id.). Pryor explained that

when R.H. got out of the vehicle, he jumped into the driver’s seat because he is “not

an argumentative person” and he did not want to go into McDonald’s with R.H.

“acting like that” and causing a scene. (Id. at 624-625). Pryor stated that, when the

cops approached him at the Mexican restaurant shortly thereafter, he denied

knowing R.H. because he did not want her to be in trouble for continuing to

associate with him. (Id. at 623-626).

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Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


        {¶13} R.H. also testified to the incident that occurred on December 6, 2021.

(Id. at 153). R.H. stated that, on that morning, she received a call from Pryor asking

for a ride. (Id. at 153, 206). Although she initially denied Pryor’s request, she

relented when Pryor threatened to come to her if she refused. (Id. at 153-154, 207-

208, 236-237). So, R.H., with J.P. in the back seat, drove to Pryor’s father’s shop

at 910 Vine Street in Lima, Allen County, Ohio, to pick up Pryor. (Id. at 154, 207).

        {¶14} When R.H. and J.P. arrived at the shop, R.H. leaned across the seat to

unlock the passenger-side door for Pryor. (June 21-23, 2022 Tr. at 155, 237).

According to R.H., Pryor got into the car and immediately “started hitting” her in

the face and head while accusing her of cheating on him. (Id. at 155, 237-238).

R.H. tried to get out of the parked car, but Pryor pulled her into the car by her hair.

(Id. at 155-156, 245). Unable to exit the car, R.H. began driving as Pryor continued

hitting her face. (Id. at 155-156). Pryor also held onto the back of R.H.’s sweatshirt

while she drove so she was unable to jump out of the car. (Id. at 240, 259). When

Pryor ignored R.H.’s pleas to stop hitting her, R.H. stopped the car, got out, and

screamed for help. (Id. at 157, 239-241). After R.H. exited the vehicle, Pryor

hopped into the driver’s seat and drove away with J.P. in the back seat. (Id. at 156-

158).

        {¶15} R.H. received help from a bystander who witnessed some of the

incident and called the police. (June 21-23, 2022 Tr. at 159). R.H. was assessed by

medics and transported to the hospital by ambulance. (Id. at 160-161, 248). R.H.

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Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


testified that as a result of the incident on December 6, 2021 she had a swollen nose,

bruised and swollen ears, blood on her nose, and various bruising on her face. (Id.

at 158). The State introduced photographs depicting the injuries. (State’s Exs. 6, 7,

8, 9, 12, 14, 16, 17, 18, 19, 20, 21); (June 21-23, 2022 Tr. at 161-164, 171-190, 256-

257). Several of the photographs also depicted R.H.’s hair in a state of disarray,

which R.H. alleged was caused by Pryor pulling her hair. (State’s Exs. 6, 7, 8);

(June 21-23, 2022 Tr. at 163).

       {¶16} R.H. stated that later she spoke to Pryor, who was in jail, and he

informed her that her car was located at an apartment building at 610 Scott Street.

(Id. at 165-167, 250).   The State introduced photographs depicting the inside and

outside of the vehicle after it was recovered on Scott Street. (June 21-23, 2022 Tr.

at 168-171); (State’s Exs. 9, 10, 11). Several of the photographs depict a clump of

long blonde hair on a sweatshirt located on the console between the front seats.

(State’s Exs. 11, 12); (June 21-23, 2022 Tr. at 170-171). R.H. stated that the

sweatshirt was sitting on the center console during the incident and that the hair on

the garment was the result of Pryor pulling her hair and trying to keep her in the car.

(June 21-23, 2022 Tr. at 170-171, 175-176, 248-250, 258); (State’s Ex. 12).

       {¶17} R.H. admitted that she has a past conviction for falsification, which

she explained was the result of her not being truthful with law enforcement in an

effort to protect Pryor. (June 21-23, 2022 Tr. at 190, 212). She further admitted

that there have been additional instances where she has not been truthful or has not

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cooperated with law enforcement or the court system in order to protect Pryor. (Id.

at 190, 212-214, 224). R.H. stated, “I guess I lie so [Pryor] don’t [sic] get in

trouble.” (Id. at 226). However, R.H. stated that she was truthful with law

enforcement in their investigation and in her testimony at trial with respect to the

November 28, 2021 and December 6, 2021 incidents. (Id. at 191, 206).

       {¶18} Renee Wagoner (“Wagoner”) testified that on December 6, 2021 she

was standing in the window of her home at 780 Holly Street in Lima, Ohio when

she heard a female voice screaming for help. (Id. at 318-320, 328-329). Wagoner

looked outside and observed R.H.’s head “flopping up and down” as someone in the

passenger seat held onto her hair. (Id. at 320-321). Wagoner described R.H’s “head

bopping” “because he was beating her.” (Id. at 333-334). Wagoner ran outside to

assist and observed the car speed away. (Id. at 321-322). Wagoner helped R.H. out

of the road and called 9-1-1. (Id. at 322-323). Wagoner described the injuries she

observed on R.H., including blood on her face and redness on her neck. (Id. at 324-

325). Wagoner also recalled R.H.’s hair being disheveled. (Id.).

       {¶19} Sergeant Tanner Engle (“Sgt. Engle”), an officer and canine handler

with the Lima Police Department, testified that on December 6, 2021, he was

dispatched to the 700 block of Holly Street for a report of a woman crying in the

street. (June 21-23, 2022 Tr. at 345-346). When Sgt. Engle arrived on the scene,

he observed a female standing in the street who appeared “very emotionally

distraught” and upset. (Id. at 347-348, 390). Sgt. Engle recalled observing dried

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Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


blood around R.H.’s nose and face and described her face as “red.” (Id. at 350-352).

Sgt. Engle testified that the injuries he observed were consistent with the version of

events that R.H. provided him. (Id. at 351-352). Additionally, he spoke to Wagoner

whose observations were consistent with R.H.’s version of events. (Id. at 353).

       {¶20} Later that day, Sgt. Engle heard over the radio that officers were

requested to 812 Weadock Avenue and were advised that the resident returned home

from a short time away and discovered that the doors to his house were locked

despite the homeowner leaving the doors unlocked when he left. (Id. at 365-368).

Officers forced entry into the residence at 812 Weadock Avenue and searched the

residence. (Id. at 367-368). State’s Exhibit 30, Sgt. Engle’s body-worn-camera

footage of the search of 812 Weadock Avenue, was played for the jury. (June 21-

23, 2022 Tr. at 370-371); (State’s Ex. 30). Before entering the residence and many

times throughout the search, officers were heard announcing “police department” to

avoid a physical or violent confrontation with the suspect. (June 21-23, 2022 Tr. at

371-373); (State’s Ex. 30). State’s Exhibit 30 depicts officers beginning on the

ground floor and searching each room. (State’s Ex. 30). In the attic, one of the

officers spotted Pryor hiding in the ceiling. (State’s Ex. 30); (June 21-23, 2022 Tr.

at 374-375).   Eventually, Pryor responded to officers and officers assisted in

lowering down Pryor, who was covered in insulation, from the attic’s ceiling. (June

21-23, 2022 Tr. at 371, 382). Pryor surrendered and was taken into custody. (Id. at

384-385); (State’s Ex. 31).

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Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


       {¶21} Detective Steven Stechschulte (“Det. Stechschulte”) testified that on

December 6, 2021, he responded to the hospital to speak to R.H. (Id. at 458-459).

Det. Stechschulte described R.H. as “cooperative” and stated that the testimony

R.H. gave during the trial was consistent with the version of events that she gave

him in the hospital and throughout the investigation. (Id. at 460-462, 549). Det.

Stechschulte testified that he has specialized training in domestic violence and has

been a domestic-violence instructor for police recruits for over twenty years. (Id. at

455-457, 463). Based on that training and experience, Det. Stechschulte opined that

the injuries he observed to R.H. in the hospital were consistent with R.H.’s version

of events. (Id. at 463-464, 490-491).

       {¶22} After leaving the hospital, Det. Stechschulte searched several

locations for Pryor or R.H.’s vehicle. (June 21-23, 2022 Tr. at 465-466). Then, he

returned to 910 Vine Street to conduct surveillance.         (Id. at 466-468, 470).

Eventually, Det. Stechschulte observed Pryor enter the building, holding J.P. (Id.

at 471-472). Several minutes later, Pryor walked out of the building without the

child. (Id. at 472-473). Det. Stechschulte, concerned about J.P.’s safety, drove

across the street into the parking lot of the business and instructed Pryor to get his

hands up and get onto the ground. (Id. at 473-474). Det. Stechschulte recalled that

Pryor did not initially follow the commands, and started to put his hands in his

pockets, so Det. Stechschulte reached into his car, grabbed his gun, pointed it in



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Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


Pryor’s direction, and gave loud verbal commands instructing Pryor to get on the

ground and keep his hands up. (Id.).

        {¶23} According to Det. Stechschulte, Pryor immediately began talking to

him, calling him “Stechschulte” because they “are very familiar with each other.”

(Id. at 474, 536, 540, 550). Pryor eventually complied with Det. Stechschulte’s

instructions. (Id. at 475, 536-537). However, when Det. Stechschulte phoned

dispatch to summon additional officers, Pryor was able to ascertain that Det.

Stechschulte did not have backup. (Id. at 475). So, Pryor got up and started running.

(Id.). Det. Stechschulte recalled giving “loud verbal commands” instructing Pryor

to stop and continued yelling, “Stop, police!” (Id.). Det. Stechschulte lost sight of

Pryor near 812 Weadock Avenue. (Id. at 476-477).

        {¶24} Concerned about J.P., who was still located at 910 West Vine Street,

Det. Stechschulte went back to the shop where he located J.P., unharmed. (Id. at

476-478). After returning the child to R.H., Det. Stechschulte returned to the area

to continue searching for Pryor. (Id. at 477-479). Det. Stechschulte was present at

812 Weadock Avenue when Pryor was apprehended in the residence. (Id. at 479-

480).

        {¶25} Det. Stechschulte testified that he was involved in previous occasions

when R.H. was not truthful with law enforcement and the court regarding Pryor’s

past actions toward her. (June 21-23, 2022 Tr. at 494). Det. Stechschulte testified

that when R.H. was untruthful in the past, it was an effort to protect Pryor from

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getting into trouble for his actions, rather than in an effort to get Pryor convicted of

crimes he did not commit. (Id. at 494-495, 514-516, 546-548). R.H.’s actions

“[w]ere always to protect [Pryor].” (Id. at 495). Det. Stechschulte testified that it

is common in domestic-violence cases for victims to stop cooperating with law

enforcement. (Id. at 495, 517-518). Regarding his past interactions with Pryor and

R.H., Det. Stechschulte stated that he is “very familiar” with them and has dealt with

them “on a number of cases.” (Id. at 514).

       {¶26} Pryor testified that he called R.H. on December 6, 2021 to ask for a

ride to his friend’s house so that he could loan the friend some money. (Id. at 625-

627). Pryor stated that when R.H. arrived, she accused Pryor of being unfaithful,

prompting a verbal disagreement. (Id. at 627). Pryor testified that the verbal

argument continued despite his efforts to deescalate the situation. (Id. at 627-628).

Pryor stated that as they turned onto Holly Street, R.H. began hitting him, causing

the vehicle to swerve. (Id. at 628). Pryor recalled that he held onto R.H.’s wrist

and put the car in park, causing the vehicle to come to an abrupt stop. (Id.). Pryor

denied hitting R.H., but stated that he grabbed her hand and pushed her away. (Id.

at 631-632).

       {¶27} Then, Pryor drove to his friend’s apartment at 610 South Scott Street

to drop off money. (June 21-23, 2022 Tr. at 628-630). However, when he returned

to the car, it would not start. (Id. at 628-629, 634-636). Pryor stated that he and J.P.

then received a ride to his father’s Vine Street shop. (Id. at 629, 635).

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       {¶28} Pryor opined that R.H. received the injuries to her face by hitting her

face on the steering wheel when he put the car into park. (Id. at 632, 655). He

denied knowing how R.H. sustained injuries to the right side of her face. (Id. at

632). However, he admitted that it was possible that he struck her nose or face when

he “mugged her” and pushed her off of him. (Id. at 632-633, 653-654).

       {¶29} According to Pryor, when he returned to his father’s shop on Vine

Street, he noticed a car in the area before he walked inside. (June 21-23, 2022 Tr.

at 636). Shortly thereafter, Pryor walked outside again, leaving J.P. in the building,

and the car he previously noticed “came [after]” him. (Id. at 639). Pryor described

the car as driving toward him “pretty fast” which caught him off guard. (Id.). Then,

an unknown person jumped out of the car and pointed a gun at him. (Id.). Pryor

stated that he put his hands up, said, “Don’t shoot!”, tucked his head down, closed

his eyes, and took off without looking at his perceived assailant. (Id.). Pryor stated

that he thought R.H. sent someone to hurt him and denied knowing he was running

from the police. (Id. at 641-642). Rather, he believed he was “running for [his]

life.” (Id. at 642-643). Pryor entered what he perceived to be an abandoned house

and hid in the attic. (Id. at 643, 664-665). Pryor denied hearing the police announce

themselves until they entered the attic. (Id. at 643). Pryor alleged that when he

heard the officers he immediately complied with their instructions. (Id.).

       {¶30} Pryor admitted he had past interactions with Det. Stechschulte,

beginning eight years prior. (Id. at 646-648). He also recalled speaking to Det.

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Stechschulte in an interview in 2020. (Id. at 648-649). He further admitted that he

has three prior convictions for domestic violence, felony convictions for possession

of cocaine and burglary, and four probation violations. (Id. at 651-653, 657, 660).

       {¶31} Pryor was found guilty of the sole count of domestic violence in case

number CR 2022 0009. With respect to case number CR 2021 0440, Pryor was

found guilty of Count One (domestic violence), and Count Six (burglary). The jury

found Pryor not guilty of grand theft; however, the jury found Pryor guilty of the

lesser-included offense of unauthorized use of a vehicle. The jury also found Pryor

not guilty of Counts Two, Four, and Five (kidnapping). The trial court accepted the

verdicts and ordered a PSI.

       {¶32} Pryor appeared for sentencing on August 10, 2022. In case number

CR 2022 0009, the trial court sentenced Pryor to 30 months in prison. In case

number CR 2021 0440, the trial court sentenced Pryor to 36 months in prison on

Count One (domestic violence), 90 days of local incarceration on Count Three

(unauthorized use of a vehicle), and an indefinite term of 4 to 6 years in prison with

respect to Count Six (burglary). The trial court ordered the sentences for Counts

One and Six to be served consecutively to one another and consecutively to the

prison term imposed in case number CR 2022 0009 for an aggregate term of a

minimum of 9 years and 6 months and a maximum term of 11 years and 6 months

in prison. The trial court filed its judgment entries of sentence the following day.



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       {¶33} Pryor filed notices of appeal on August 22, 2022. On October 4, 2022,

Pryor filed motions for leave to file for a new trial based on jury misconduct. The

proffered motions alleged jury misconduct on the basis that R.H. and one of the

jurors were co-workers. The State filed its opposition to Pryor’s motions for leave

to file for a new trial. Due to the pending appeals, the trial court was divested of

jurisdiction to consider the motions. However, on February 23, 2023, this Court

stayed the appeals and ordered the matters be remanded for the trial court to decide

Pryor’s motions for leave to file for a new trial.

       {¶34} On March 16, 2023, Pryor refiled his motions for leave of court to file

for a new trial based on jury misconduct and simultaneously filed his motions for a

new trial. The State subsequently filed its opposition to Pryor’s motions for new

trial. On June 13, 2023, the trial court filed its judgment entries granting Pryor’s

motions for leave to file for a new trial but denying Pryor’s motions for a new trial.

       {¶35} Pryor filed notices of appeals on July 11, 2023. He raises three

assignments of error for our review.

                             First Assignment of Error

       Because the jury lost its way and created a manifest miscarriage
       of justice in convicting Appellant, Appellant’s convictions, in both
       case number CR-2021-0440 and CR-2022-0009, were against the
       manifest weight of the evidence.

       {¶36} In his first assignment of error, Pryor argues that his convictions are

against the manifest weight of the evidence.


                                         -17-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


Standard for Manifest-Weight Review

       {¶37} In determining whether a conviction is against the manifest weight of

the evidence, a reviewing court must examine the entire record, “‘weigh[] the

evidence and all reasonable inferences, consider[] the credibility of witnesses and

determine[] whether in resolving conflicts in the evidence, the [trier of fact] clearly

lost its way and created such a manifest miscarriage of justice that the conviction

must be reversed and a new trial ordered.’” State v. Thompkins, 78 Ohio St.3d 380,

387 (1997), quoting State v. Martin, 20 Ohio App.3d 172, 175 (1st Dist. 1983). A

reviewing court must, however, allow the trier of fact appropriate discretion on

matters relating to the weight of the evidence and the credibility of the witnesses.

State v. DeHass, 10 Ohio St.2d 230, 231 (1967). When applying the manifest-

weight standard, “[o]nly in exceptional cases, where the evidence ‘weighs heavily

against the conviction,’ should an appellate court overturn the trial court’s

judgment.” State v. Haller, 2012-Ohio-5233, ¶ 9 (3d Dist.), quoting State v. Hunter,

2011-Ohio-6524, ¶ 119.

Pryor’s Convictions

       {¶38} Pryor was found guilty of two counts of domestic violence, one count

of unauthorized use of a vehicle, and one count of burglary.

       {¶39} The offense of domestic violence is codified at R.C. 2919.25(A) and

provides that “[n]o person shall knowingly cause or attempt to cause physical harm

to a family or household member.” “A person acts knowingly, regardless of

                                         -18-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


purpose, when the person is aware that the person’s conduct will probably cause a

certain result or will probably be of a certain nature.”             R.C. 2901.22(B).

Additionally, “[a] person has knowledge of circumstances when the person is aware

that such circumstances probably exist.” Id.
       {¶40} Pryor was also convicted of unauthorized use of a vehicle, which is

codified under R.C. 2913.03 and provides “[n]o person shall knowingly use or

operate a . . . motor vehicle . . . without the consent of the owner or person authorized

to give consent.” R.C. 2919.03(A).

       {¶41} Finally, Pryor was convicted of burglary in violation of R.C.

2911.12(A)(2), which states “[n]o person, by force, stealth, or deception, shall . . .

[t]respass in an occupied structure or in a separately secured or separated occupied

portion of an occupied structure . . ., with purpose to commit in the habitation any

criminal offense.”     The predicate “criminal offense” was obstructing official

business or failure to comply with an order of a police officer.

Domestic Violence

       {¶42} Pryor was convicted of two counts of domestic violence – one in case

number CR 2022 0009 relating to the incident on November 28, 2021 and one in

case number CR 2021 0440 relating to the December 6, 2021 incident. In both

cases, Pryor’s arguments relate chiefly to Pryor’s contention that R.H. was not

credible and that the jury erred by finding her version of events more credible than

his. Specifically, Pryor references R.H.’s prior conviction for falsification and

                                          -19-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


admission that she has a history of not being truthful with law enforcement and the

court system.

       {¶43} However, “[a] verdict is not against the manifest weight of the

evidence because the finder of fact chose to believe the State’s [evidence] rather

than the defendant’s version of the events.” State v. Martinez, 2013-Ohio-3189, ¶

16 (9th Dist.). “‘Although we review credibility when considering the manifest

weight of the evidence, the credibility of witnesses is primarily a determination for

the trier of fact.’” State v. Cox, 2022-Ohio-571, ¶ 20 (3d Dist.), quoting State v.

Banks, 2011-Ohio-5671, ¶ 13 (8th Dist.), citing DeHass, 10 Ohio St.2d, at paragraph

one of the syllabus. “‘The trier of fact is best able “to view the witnesses and

observe their demeanor, gestures[,] and voice inflections, and use these observations

in weighing the credibility of the proferred testimony.”’” State v. Brentley, 2023-

Ohio-2530, ¶ 33 (3d Dist.), quoting Banks at ¶ 13, quoting State v. Wilson, 2007-

Ohio-2202, ¶ 24, citing Seasons Coal Co., Inc. v. Cleveland, 10 Ohio St.3d 77, 80-

81 (1984).

       {¶44} Notably, the jury had the opportunity to observe R.H. and Pryor testify

at trial. Based upon our review of the record, it is clear that the jury found R.H. to

be more credible. “It is within the province of the jury to parse out the credible

portions of the witnesses’ testimonies.” State v. Waller, 2023-Ohio-493, ¶ 20. The

record sufficiently supports the jury’s credibility assessments, and we find no basis

to alter its analysis.

                                        -20-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


       {¶45} Furthermore, in reviewing the evidence presented at trial, R.H.’s

testimony was corroborated by multiple sources. For instance, with respect to the

November 28, 2021 incident, Marchal observed a male making striking motions

with his arm while a female screamed. Additionally, security footage from the

McDonald’s parking lot is consistent with R.H.’s version of events. Officer Warris

testified that based on his observations, something physical in fact occurred between

R.H. and Pryor, despite Pryor’s statements to the contrary. Likewise, Det. Miller,

who interviewed Pryor with respect to the November 28, 2021 incident, testified

that he did not believe Pryor was being entirely truthful during his recorded

interview due to inconsistencies in his story.

       {¶46} Regarding the December 6, 2021 incident, Wagoner, who witnessed

the incident and aided R.H. in its immediate aftermath, corroborated R.H.’s

testimony with her own observations of someone holding onto R.H.’s hair while

R.H.’s head “flopp[ed] up and down.” (June 21-23, 2022 Tr. at 320-321). Sgt.

Engle, who arrived on the scene to assist R.H., testified that the injuries he observed

were consistent with the version of events R.H. provided him. Det. Stechschulte,

who was familiar with R.H. and Pryor and had specialized training and experience

investigating domestic violence cases, testified that R.H.’s version of events

remained consistent throughout the investigation and trial.

       {¶47} Furthermore, although R.H. admitted to a history of lack of candor

with law enforcement and the court system, she and Det. Stechschulte clarified that

                                         -21-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


her past lack of candor was the result of her desire to protect Pryor from getting into

trouble for his actions. Det. Stechschulte further testified that, in his experience, it

is not uncommon for victims of domestic violence to lie to protect their abuser.

       {¶48} Although Pryor denied he knowingly caused harm to R.H. and

testified that his actions were in self-defense, the jury was free to believe R.H.’s

version of events. Accordingly, we find Pryor’s convictions for domestic violence

are not against the manifest weight of the evidence.

Burglary

       {¶49} Pryor contends that his burglary conviction is against the manifest

weight of the evidence because he did not recognize Det. Stechschulte as a law

enforcement officer, and therefore, he did not know he was being pursued by police

until officers called out his name while searching the attic. Accordingly, he alleges

that he lacks the requisite “purpose” of entering the residence to commit a criminal

offense.

       {¶50} Again, Pryor’s arguments focus chiefly on his contention that the jury

should have believed his version of events rather than the State’s version. Indeed,

Pryor testified that, although he admittedly had prior interactions with Det.

Stechschulte, he did not recognize him on December 6, 2021 and instead believed

that he was being pursued by someone acting on R.H.’s behalf. However, Det.

Stechschulte provided testimony that when he engaged Pryor on December 6, 2021,

Pryor immediately recognized him, even calling Det. Stechschulte by name. He

                                         -22-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


further testified that during his pursuit of Pryor he continually identified himself as

law enforcement by yelling “Stop, police!” Det. Stechschulte stated that he was

wearing a suit rather than a uniform and was driving an unmarked department-

issued vehicle. The jury also had the opportunity to view body-worn camera footage

of law enforcement’s search of 812 Weadock Avenue and would have been in a

position to assess the credibility of Pryor’s contention that he was unaware law

enforcement was searching for him until they were calling out his name in the attic

of the residence.

       {¶51} After reviewing the evidence, we do not find that the jury lost its way

by believing the State’s version of events over Pryor’s version. Accordingly, we

find Pryor’s conviction for burglary is not against the manifest weight of the

evidence.

Unauthorized Use of a Vehicle

       {¶52} Pryor summarily alleges that his conviction for unauthorized use of a

vehicle is against the manifest weight of the evidence due to R.H.’s lack of

credibility. However, as addressed in detail with respect to Pryor’s arguments

relating to his domestic-violence convictions, the jury was free to believe the State’s

version of events over Pryor’s version. After reviewing the record, we do not find

that the jury lost its way by convicting Pryor of unauthorized use of a vehicle. Thus,

we do not find Pryor’s conviction for unauthorized use of a vehicle to be against the

manifest weight of the evidence.

                                         -23-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


Conclusion

       {¶53} Having found none of Pryor’s convictions to be against the manifest

weight of the evidence, we overrule his first assignment of error.

                          Second Assignment of Error

       Because the trial court abused its discretion and acted in an
       arbitrary, unreasonable, and capricious manner in ruling on
       Appellant’s Motion for New Trial in both case number CR-2021-
       0440 and CR-2022-0009, the trial court abused its discretion in
       denying Appellant’s Motion for New Trial, in both case numbers
       CR-2021-0440 and CR-2022-0009, in violation of Appellant’s
       right to Due Process and a fair trial under the Fifth, Sixth, and
       Fourteenth Amendments to the United States Constitution and
       Article I, Sections 5 and 10 of the Ohio Constitution.

       {¶54} In his second assignment of error, Pryor argues that the trial court

erred by denying his delayed motion for a new trial. Pryor alleges that, after the

trial, he discovered R.H. and one of the jurors were coworkers. Pryor contends this

relationship, as well as R.H. and the juror’s failure to disclose their status as co-

workers, deprived him of a fair trial. We disagree.

Standard of Review and Relevant Law

       {¶55} An abuse of discretion suggests the trial court’s decision is

unreasonable, arbitrary, or unconscionable. State v. Adams, 62 Ohio St.2d 151, 157

(1980). When applying the abuse of discretion standard, a reviewing court may not

simply substitute its judgment for that of the trial court. Blakemore v. Blakemore,

5 Ohio St.3d 217, 219 (1983). “A determination on a Crim.R. 33 motion for a new



                                        -24-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


trial is within the sound discretion of the trial court and will not be reversed absent

an abuse of discretion.” State v. Fisher, 2021-Ohio-3788, ¶ 16 (3d Dist.).

       {¶56} Pryor filed his motion for a new trial pursuant to Crim.R. 33(A)(2),

which provides as follows, “A new trial may be granted on motion of the defendant

for any of the following causes affecting materially the defendant’s substantial

rights: * * * (2) Misconduct of the jury, prosecuting attorney, or the witnesses for

the state[.]” A new trial shall not be granted “unless it affirmatively appears from

the record that the defendant was prejudiced thereby or was prevented from having

a fair trial.” Crim.R. 33(E)(5). Moreover,

       Application for a new trial shall be made by motion which, except for
       the cause of newly discovered evidence, shall be filed within fourteen
       days after the verdict was rendered, or the decision of the court where
       a trial by jury has been waived, unless it is made to appear by clear
       and convincing proof that the defendant was unavoidably prevented
       from filing his motion for a new trial, in which case the motion shall
       be filed within seven days from the order of the court finding that the
       defendant was unavoidably prevented from filing such motion within
       the time provided herein.

Crim.R. 33(B).

       {¶57} “In addressing claims of juror misconduct, a court must employ a two-

step analysis. First, a court will determine whether juror misconduct occurred, and

second, if juror misconduct is found, the court will determine whether the

misconduct materially affected the defendant’s substantial rights.” Fisher at ¶ 19,

citing State v. Taylor, 73 Ohio App.3d 827, 833 (4th Dist. 1991) and State v.

Samatar, 2003-Ohio-1639, ¶ 35 (10th Dist.). “The party complaining of alleged

                                         -25-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


juror misconduct must establish prejudice.” Id., citing State v. Edwards, 2019-

Ohio-3012, ¶ 52 (10th Dist.).

Analysis

       {¶58} In order to determine whether jury misconduct occurred, we must

review the matter in its proper context. In his motion for a new trial, Pryor alleges

that he recently learned that Juror Two and R.H. were co-workers and that neither

person disclosed this fact at any point during the trial. He argues that because

neither R.H. nor the juror disclosed the information, he was unable to discover this

fact within 14 days. He contends that Juror Two and R.H.’s status as co-workers

constituted misconduct that materially affected his right to a fair trial.

       {¶59} Attached to the motion for a new trial is an affidavit of the victim,

R.H, dated October 25, 2022. The salient points of her affidavit are as follows:

       1. I work at Bob Evans Farms in Lima, Ohio.

       2. I have worked there since April 6, 2022.

       3. [Juror Two] also works at Bob Evans Farms in Lima, Ohio.

       4. [Juror Two] has worked at Bob Evans Farms for the entirety of my
       time there.

       5. Only after a recent conversation with [Juror Two] did I realize she
       was on the jury.

(Case No. CR 2021 0440, Doc. No. 179); (Case No. CR 2022 0009, Doc. No. 72).

       {¶60} After reviewing the affidavit in the context of the record, the trial court

found that Pryor failed to satisfactorily allege that (1) juror misconduct occurred and

                                          -26-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


(2) he was prejudiced by the fact that R.H. and Juror Two were co-workers. After

reviewing the record, we agree.

       {¶61} During voir dire, the trial court stated, “I’m going to have the lawyers

read the list of potential witnesses in this case, some are local and some may be out

of towners, I’m not exactly sure, but these are potential witnesses. It doesn’t mean

everyone on the list will testify but potentially they may.” (June 21-23, 2022 Tr. at

14-15). The State then read the list of potential witnesses, with R.H.’s name being

read first. (Id. at 15). The trial court then asked the potential jurors if they

recognized any of the names. (Id.). However, none of the prospective jurors,

including Juror Two, indicated that they knew R.H., although some prospective

jurors indicated that they knew other potential witnesses. (Id. at 15-20). Shortly

thereafter, the trial court asked, “[Is] [a]nyone here an employer or employee or your

spouse, your parent, your child thereof of [R.H.], who is one of the alleged victims

in this case[,] or the defendant[,] Mr. Pryor?” (Id. at 20). Again, none of the

prospective jurors indicated in the affirmative. (Id. at 20-21). R.H. was the State’s

first witness. Furthermore, the record indicates that after testifying, R.H. remained

in the courtroom for at least a portion of the ongoing proceedings.

       {¶62} Pryor alleges that Juror Two engaged in misconduct by not indicating

that she recognized R.H. from her employment at Bob Evans Farms. Pryor argues

that because Juror Two and R.H. were coworkers, working at the same factory at

the time of the trial, he was denied the right to a fair trial as follows:

                                          -27-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


         First it would have impacted [Juror Two’s] perception of the case.
         Knowing that the State’s witness, R.H., was a coworker would have
         led [Juror Two] to unfairly assign greater credibility to R.H.’s
         testimony than [Juror Two] otherwise would have. This led to Pryor’s
         conviction on all charges.1 Even though R.H.’s testimony was less
         critical to the State’s evidence on the Burglary charge, [Juror Two]
         would have unfairly assigned more credibility to R.H., and by
         extension, less credibility to Pryor—who testified in his own defense
         regarding the circumstances of his arrest. Thus, [Juror Two’s] juror
         misconduct, in the form of nondisclosure of being a coworker of R.H.,
         prejudiced Pryor and violated his rights to Due Process and a fair trial,
         as it led to his conviction on each of the charges of which Pryor was
         convicted.

(Appellant’s Brief at 15-16).                 Pryor also alleged that Juror Two’s alleged

nondisclosure of her employment limited his trial counsel’s ability to represent

Pryor during voir dire.

         {¶63} However, Pryor’s claims are speculative and not supported by the

record. First, the record before us, including R.H.’s affidavit, does not establish that

Juror Two recognized R.H. from her employment at Bob Evans Farms. Rather,

R.H.’s affidavit indicates that she herself was not aware of her and Juror Two’s

shared employment until a “recent conversation” shortly before her affidavit was

signed on October 25, 2022. (Case No. CR 2021 0440, Doc. No. 179); (Case No.

CR 2022 0009, Doc. No. 72). Thus, it stands to reason that Juror Two may not have

recognized R.H. as a co-worker, particularly in light of R.H.’s statement that she

had only been employed at Bob Evans Farms since April 6, 2022, only a little over



1
 Pryor was not, in fact, convicted on all charges, as he erroneously contends in his appellant’s brief. Indeed,
Pryor was acquitted of a number of counts, including three charges of kidnapping.

                                                    -28-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


two months prior to the commencement of trial. (Id.); (id.). This possibility is

bolstered by the trial court’s statements in its judgment entry that it had knowledge

that “Bob Evans Farms is a factory that operates all day, every day and employs

quite a number of people for all shifts.” (Case No. CR 2021 0440, Doc. No. 184);

(Case No. CR 2022 0009, Doc. No. 76). Thus, the record does not establish that

Juror Two failed to honestly disclose her relationship with R.H.

       {¶64} Furthermore, even if Juror Two did indeed realize that she and R.H.

were co-workers and failed to disclose the relationship, Pryor has not demonstrated

that he was prejudiced by this nondisclosure. Although Pryor’s argument assumes

Juror Two’s connection with R.H. resulted in Juror Two assigning greater credibility

to R.H.’s testimony, there is no information in the record indicating this is true. In

fact, it is possible that Juror Two’s acquaintance with R.H. was not a positive one.

Furthermore, the jury found Pryor not guilty of several offenses involving R.H. as

a victim, undermining Pryor’s argument that Juror Two and R.H.’s relationship as

co-workers prejudiced him. “‘[M]isconduct of a juror will not be presumed, but

must be affirmatively proved. The law presumes proper conduct on the part of the

jury.’” State v. Sealey, 2019-Ohio-3692, ¶ 35 (2d Dist.), quoting State v. Sapp, 1995

WL 491390, *7 (10th Dist. 1995). “To demonstrate prejudice, the moving party

must show that an accurate response from the juror would have provided a valid

basis for a challenge for cause.” State v. Kovacic, 2017-Ohio-9102, ¶ 15 (11th



                                        -29-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


Dist.). After reviewing the record, we do not find Pryor properly showed that any

nondisclosure prejudiced him.

      {¶65} Accordingly, Pryor’s second assignment of error is overruled.

                           Third Assignment of Error

      Because the counts named on the trial court’s verdict forms did
      not match the counts as named in the Indictment, the trial court’s
      verdict forms, with respect to Appellant’s convictions for
      Domestic Violence and Burglary in case number CR-2021-0440,
      did not comply with R.C. 2945.75, and the verdict was insufficient
      to support Appellant’s conviction for Domestic Violence as a
      third-degree felony, or Burglary as a second-degree felony, in
      violation of Appellant’s right to Due Process and trial by jury
      under the Fifth, Sixth and Fourteenth Amendments to the United
      States Constitution and Article I, Sections 5 and 10 of the Ohio
      Constitution.

      {¶66} In his third assignment of error, Pryor argues that the verdict forms

for his convictions for domestic violence and burglary in case number CR 2021

0440 do not comply with R.C. 2945.75, violating his rights to due process and trial

by jury. Accordingly, Pryor argues that his conviction for domestic violence must

be reduced from a third-degree felony to a first-degree misdemeanor and that his

conviction for burglary must be reduced from a second-degree felony to a fourth-

degree felony.

      {¶67} In support of his argument, Pryor relies upon R.C. 2945.75, which

provides:

      (A) When the presence of one or more additional elements makes an
      offense one of more serious degree:


                                       -30-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


       (1) The affidavit, complaint, indictment, or information either shall
       state the degree of the offense which the accused is alleged to have
       committed, or shall allege such additional element or elements.
       Otherwise, such affidavit, complaint, indictment, or information is
       effective to charge only the least degree of the offense.

       (2) A guilty verdict shall state either the degree of the offense of which
       the offender is found guilty, or that such additional element or
       elements are present. Otherwise, a guilty verdict constitutes a finding
       of guilty of the least degree of the offense charged.

       {¶68} R.C. 2919.25, which codifies the offense of domestic violence,

provides in pertinent part:

       (A) No person shall knowingly cause or attempt to cause physical
       harm to a family or household member.
       ...
       (D)(1) Whoever violates this section is guilty of domestic violence,
       and the court shall sentence the offender as provided in divisions
       (D)(2) to (6) of this section.

       ...

       (4) If the offender previously has pleaded guilty to or been convicted
       of two or more offenses of domestic violence or two or more
       violations or offenses of the type described in division (D)(3) of this
       section involving a person who was a family or household member at
       the time of the violations or offenses, a violation of division (A) or
       (B) of this section is a felony of the third degree, and, if the offender
       knew that the victim of the violation was pregnant at the time of the
       violation, the court shall impose a mandatory prison term on the
       offender pursuant to division (D)(6) of this section, and a violation of
       division (C) of this section is a misdemeanor of the first degree.

       {¶69} Pryor was also convicted of burglary which is codified in R.C.

2911.12 as follows:

       (A) No person, by force, stealth, or deception, shall do any of the
       following:

                                         -31-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47



       ...

       (2) Trespass in an occupied structure or in a separately secured or
       separately occupied portion of an occupied structure that is a
       permanent or temporary habitation of any person when any person
       other than an accomplice of the offender is present or likely to be
       present, with purpose to commit in the habitation any criminal
       offense;

       ...

       (B) No person, by force, stealth, or deception, shall trespass in a
       permanent or temporary habitation of any person when any person
       other than an accomplice of the offender is present or likely to be
       present.

       ...

       (D) Whoever violates division (A) of this section is guilty of burglary.
       A violation of division (A)(1) or (2) of this section is a felony of the
       second degree. A violation of division (A)(3) of this section is a
       felony of the third degree.

       (E) Whoever violates division (B) of this section is guilty of trespass
       in a habitation when a person is present or likely to be present, a felony
       of the fourth degree.

       {¶70} Pryor’s domestic-violence conviction in case number CR 2021 0440

was a felony of the third-degree. At trial, the parties stipulated that Pryor had three

prior convictions of domestic violence.           Thus, in accordance with R.C.

2945.75(A)(2), the verdict needed to state the degree of the offense or that Pryor

had been convicted of three or more convictions for domestic violence.

Additionally, Pryor’s burglary conviction was enhanced from a fourth-degree

trespass in a habitation to burglary, a second-degree felony, based on the State’s

                                         -32-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


allegation that he trespassed in a habitation “with purpose to commit in the

habitation any criminal offense.” R.C. 2911.12(A)(2), (D).

       {¶71} Here, case number CR 2022 0009, which involved a single count of

domestic violence, was consolidated for trial with the six counts in case number CR

2021 0440. As a result of the consolidation, the trial court renumbered the counts

with the sole count in CR 2022 0009 as count one and counts one through six in

case number CR 2021 0440 being renumbered as counts two through seven,

respectively. Accordingly, although labeled as Count One and Six in the indictment

for case number CR 2021 0440, the counts were referenced at trial as Count Two

and Count Seven, respectively.

       {¶72} Thus, Pryor reasons that because the verdict forms reference Count

Two and Count Seven, rather than Count One and Count Six, respectively, the

verdict forms are insufficient. Pryor alleges that the discrepancy between the counts

in the indictment resulted in verdict forms that do not comply with R.C. 2945.75

and could have confused the jury.

       {¶73} However, the verdict form for Count Two, which corresponds to

Count One of the indictment in case number CR 2021 0440, was consistently

referenced as Count Two throughout the trial on the consolidated cases. Further,

the verdict form referenced Count Two and outlined each of the elements of the

offense, including a finding that Pryor had previously been convicted of three

offenses of domestic violence. (Case No. CR 2021 0440, Doc. No. 145). Likewise,

                                        -33-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


the verdict form for Count Seven, which corresponded to Count Six of the

indictment in case number CR 2021 0440, consistently referenced the burglary

charge as Count Seven and included the finding that Pryor entered the residence

“with purpose to commit in the structure any criminal offense, to-wit: obstructing

official business or failure to comply with an order of a police officer.” (Case No.

CR 2021 0440, Doc. No. 151). Accordingly, we find that the verdict forms

complied with R.C. 2945.75.

       {¶74} Furthermore, the jury was not presented with the indictments, and

accordingly, the jury would have been unaware that that counts in case number CR

2021 0440 had been renumbered and would not have conflated the counts in the

indictments with the counts in the verdict forms.

       {¶75} Thus, Pryor’s third assignment of error is overruled.




                                       -34-
Case Nos. 1-22-48, 1-22-49, 1-23-46, 1-23-47


                                   Conclusion

       {¶76} Having found no error prejudicial to the appellant herein in the

particulars assigned and argued, we affirm the judgments of the Allen County Court

of Common Pleas.


                                                             Judgments Affirmed

ZIMMERMAN and GWIN, J.J., concur.

/jlm



**Judge W. Scott Gwin of the Fifth District Court of Appeals, sitting by
Assignment of the Chief Justice of the Supreme Court of Ohio.




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